    Case 3:15-cr-00474-BAS   Document 72   Filed 03/10/16   PageID.155   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 15CR0474-BAS

                       Plaintiff,
               vs.                         JUDGMENT OF DISMI:S SAL
ADRIANA GARCIA,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Information:

     8 USC 1324 (a) (1) (A) (ii), (v) (I), (A) (1) (B) (I) - Conspiracy to Transport

     Illegal Aliens.

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 3/10/16
                                           Ruben B. Brooks
                                           U.S. Magistrate Judge
